Case: 2:18-cv-00736-MHW-EPD Doc #: 160 Filed: 10/21/21 Page: 1 of 1 PAGEID #: 2778




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO


                                                    )
    STEVE SNYDER-HILL, et al.,                      )
                                                    )
                   Plaintiffs,                      )      Case No. 2:18-cv-00736
                                                    )
    v.                                              )      Judge Michael H. Watson
                                                    )
    THE OHIO STATE UNIVERSITY,                      )      Chief Magistrate Judge Elizabeth P.
                                                    )      Deavers
                   Defendant.                       )
                                                    )

                                    NOTICE OF APPEAL

               Notice is hereby given that all Plaintiffs named in the document attached hereto as

 Attachment A hereby appeal to the United States Court of Appeals for the Sixth Circuit from this

 Court’s decision and order entered in this action on the 22nd day of September, 2021 (ECF No.

 158), which granted the Defendant’s Motion to Dismiss, as well as the accompanying final

 judgment entered on the same day (ECF No. 159).

 Dated: Columbus, OH                         Respectfully submitted,
        October 21, 2021

                                             By:   /s/ Scott E. Smith
                                                   Scott E. Smith

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